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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                                                            CASE NO. 04-80791
                        Plaintiff,                          HON. LAWRENCE P. ZATKOFF

v.

D-1 JOEL LAIRD,
D-2 MICHAEL WRIGHT.

                  Defendants.
__________________________________/

                                     ORDER TO STRIKE

       On September 19, 2005, Plaintiff filed a Motion to Strike Defendant Joel Laird’s September

7, 2005 “Writ for Habeas Corpus and Notice of Hearing.” The Government asserts that defense

counsel did not file the pleading, and that Defendant Laird signed the pleading on his own behalf.

The Government argues that Defendant is not entitled to hybrid representation and that the Court

should strike Defendant Laird’s September 7, 2005 pleading. On September 27, 2005, defense

attorney David Steingold, on behalf of Defendant Laird, filed a response and thereby joined in the

Government’s Motion to Strike.

       Because the Motion is not opposed and because the Court finds the law cited in the

Government’s Motion to be persuasive, the Court HEREBY GRANTS Plaintiff’s Motion to Strike.

Accordingly, the Court HEREBY ORDERS the Clerk’s Office to STRIKE Defendant Laird’s

September 7, 2005 “Writ for Habeas Corpus and Notice of Hearing.”

       IT IS SO ORDERED.

                                                    s/Lawrence P. Zatkoff
Date: October 3, 2005                               LAWRENCE P. ZATKOFF
                                                    UNITED STATES DISTRICT JUDGE
